


  PER CURIAM.
 

  DISMISSED.
  
   See
  
  Fla. R.App. P. 9.110(b);
  
   Hollingsworth v. Szczecina,
  
  731 So.2d 790 (Fla. 1st DCA 1999) (dismissing appeal as untimely where mandamus proceedings below were civil in nature and appellate rights may be preserved by filing motion for relief in trial court);
  
   Mobley v. McNeil,
  
  989 So.2d 1215, 1217 (Fla. 1st DCA 2008) (dismissing appeal because an order on motion for rehearing is not independently reviewable).
 

  KAHN, BENTON, and CLARK, JJ., concur.
 
